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 4
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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:12-CR-00409 TLN
12                                Plaintiff,               STIPULATION REGARDING
                                                           EXCLUDABLE TIME PERIODS
13   v.                                                    UNDER SPEEDY TRIAL ACT;
                                                           FINDINGS AND ORDER
14   NINA NGUYEN and
     LUAN TRAN,
15
                                  Defendants,
16

17
                                                STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, defendant NINA
19
20 NGUYEN, by and through her counsel of record, Scott N. Cameron, and LUAN TRAN, by and

21 through his counsel of record, MICHAEL BIGELOW, hereby stipulate as follows:

22          1.      By previous order, this matter was set for status on June 13, 2013, at 9:30 a.m.
23
            2.      By this stipulation, defendants now move to continue the status conference until
24
     August 1, 2013, at 9:30 a.m., and to exclude time between June 13, 2013, and August 1, 2013, under
25
     Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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28          a.      The government has produced approximately 22,093 pages of discovery to the
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     defense.
 1
            b.      Respective counsel for each defendant desires additional time to review the document
 2

 3 discovery, consult with their client regarding the discovery, conduct investigation, and to discuss

 4 potential resolution with their client and the government.

 5          c.      Counsel for each defendant believes that failure to grant the above-requested
 6
     continuance would deny defendants the reasonable time necessary for effective preparation, taking
 7
     into account the exercise of due diligence.
 8
            d.      The government does not object to the continuance.
 9

10          e.      Based on the above-stated findings, the ends of justice served by continuing the case

11 as requested outweigh the interest of the public and the defendant in a trial within the original date

12 prescribed by the Speedy Trial Act.

13          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
14
     seq., within which trial must commence, the time period of June 13, 2013, to August 1, 2013,
15
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
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     because it results from a continuance granted by the Court at defendant’s request on the basis of the
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18 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

19 public and the defendant in a speedy trial.
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            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
 1
     the Speedy Trial Act dictate that additional time periods are excludable from the period
 2

 3 within which a trial must commence.

 4 IT IS SO STIPULATED.

 5

 6 DATED:           June 10, 2013
 7
                                           /s/ Steven Lapham___
 8                                         STEVEN LAPHAM
                                           Assistant United States Attorney
 9

10 DATED:           June 10, 2013
11
                                           /s/ Scott Cameron
12                                         SCOTT N. CAMERON
                                           Counsel for NINA NGUYEN
13

14 DATED:           June 10, 2013
15
                                           /s/ Michael Bigelow
16                                         MICHAEL BIGELOW
                                           Counsel for LUAN TRAN
17

18

19
                                                  ORDER
20

21          IT IS SO FOUND AND ORDERED this 11th day of June, 2013.
22

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25                                           Troy L. Nunley
                                             United States District Judge
26

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                                                        3
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